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                            Exhibit 1
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Case 3:20-cv-00421-NJR Document 1-1 Filed 05/06/20 Page 2 of 44 Page ID #8Kahalah A. Clay
                                                                                                       Circuit Clerk
                                                                                                 CARMEN GLENN
                                                                                                           20L0206
                                                                                                   St. Clair County
                                  IN THE CIRCUIT COURT                                         3/12/2020 10:07 AM
                              TWENTIETH JUDICIAL CIRCUIT                                                   8836370

                               ST. CLAIR COUNTY, ILLINOIS

ROSLYN HAZLITT, JANE DOE, by and )
through next friend JOHN DOE, RICHARD)
ROBINSON, and YOLANDA BROWN,          )                       Case No.: 20L0206
on behalf of themselves and all other )
persons similarly situated, known     )                       JURY TRIAL DEMANDED
and unknown,                          )
                                              )
                       Plaintiffs,            )
                                              )
V.                                            )
                                              )
APPLE INC.,                                   )
                                              )
                       Defendant.             )
                                              )


                                 CLASS ACTION COMPLAINT

       Plaintiffs Roslyn Hazlitt, Jane Doe, a minor, by and through next friend John Doe,

Richard Robinson, and Yolanda Brown (“Plaintiffs”), individually and on behalf of all other

persons similarly situated, bring this class action lawsuit for violations of the Biometric

Information Privacy Act, 740 ILCS 14/1 etseq. (“BIPA”), against Defendant Apple Inc.

(“Defendant”). Plaintiffs allege the following facts based upon personal knowledge,

investigation by retained counsel, and on information and belief

        1.     Plaintiffs allege that Defendant violated BIPA by collecting, possessing, and

profiting from the biometric identifiers and biometric information (collectively, “Biometric

Data”) of Illinois citizens via Defendant’s Photos software application (“Photos App”). For the

reasons discussed in greater detail below, Defendant’s violations of BIPA pose a serious threat of

permanent harm to Illinois citizens.




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       2.        Defendant’s Photos App comes pre-installed on Defendant’s phones, tablets, and

computers (“Apple Devices”). The Photos App, which cannot be removed or modified,

automatically collects face Biometric Data from Apple Device users’ photographs. Defendant’s

Photos App collects Biometric Data without the knowledge or informed written consent of the

Apple Device users or Apple Device nonusers—including minors—who appear in photographs

on Apple Devices. Users of Apple Devices are not told by Defendant that it is collecting face

Biometric Data, and cannot disable Defendant’s collection of face Biometric Data.

       3.        Defendant’s conduct violates BIPA in three ways:

       First, Defendant violates Section 15(b) by collecting the Biometric Data of Plaintiffs and

other Illinois citizens. As described in greater detail below, Defendant collects Biometric Data

of Plaintiffs and other Illinois citizens by collecting the face geometries of persons who appear in

photographs on an Apple Device, and storing those face geometries in a database on the Apple

Device.

       Second, Defendant violates Section 15(a) by possessing the Biometric Data of Plaintiffs

and other Illinois Citizens. As is likewise described below, Defendant possesses Biometric Data

by exercising exclusive control over the face Biometric Data of Plaintiffs and other Illinois

citizens, and by prohibiting Apple Device users and nonusers from accessing, modifying, or

removing their face Biometric Data.

          Third, Defendant violates BIPA Section 15(c) by profiting from the Biometric Data it

collects and possesses. Defendant profits from the face Biometric Data of Apple device users

and nonusers because it uses the facial recognition capabilities of its Photos App, which violate

BIPA, to market and sell its devices and software.




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       4.      Through this lawsuit, Plaintiffs, on behalf of a similarly situated class, seek to

enjoin Apple from collecting, possessing, and profiting from their Biometric Data in violation of

BIPA, and seek to obtain actual and statutory damages for their injuries.

I.     Nature of the Action

       5.         Plaintiffs allege that Defendant violated BIPA by collecting their biometric

identifiers and biometric information.

       6.         Plaintiffs seek to represent a class of individuals whose face geometries were

collected, stored, and/or used by Defendant, including through the use of Defendant’s Photos

App.

        7.        Plaintiffs have suffered significant damage, as more fully described herein.

because Defendant has collected their Biometric Data without their knowledge, consent, or

understanding, thereby materially decreasing the security of this intrinsically inalterable

information, and substantially increasing the likelihood that Plaintiffs will suffer as victims of

fraud and/or identity theft.

        8.        Plaintiffs seek actual damages in addition to statutory damages, as provided below

in the Prayer for Relief.

        9.        The remedies Plaintiffs seek are remedial, and not penal, in nature.

11.     Parties

        10.       Plaintiff Roslyn Hazlitt is a resident of Belleville in St. Clair County, Illinois.

        11.       Plaintiff Jane Doe, a minor, is a resident of O’Fallon in St. Clair County, Illinois.

John Doe, Jane Doe’s next friend, is also a resident of O’Fallon in St. Clair County, Illinois.

        12.       Plaintiff Richard Robinson is a resident of Troy in Madison County, Illinois.

        13.       Plaintiff Yolanda Brown is a resident of Godfrey in Madison County, Illinois.



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       14.     Plaintiffs’ face geometries have been scanned by Defendant, and their Biometric

Data were collected, stored, and used by Defendant, as more fully described herein.

        15.    Defendant is a California corporation that is registered to and does conduct

business throughout Illinois and in St. Clair County.

        16.    Defendant is a “private entity” under the meaning of BIPA. 740 ILCS 14/10.

III.   Jurisdiction and Venue

        17.    This Court has personal jurisdiction over Defendant because, during the relevant

time period. Defendant was registered to do business in Illinois, conducted business in Illinois,

committed the violations alleged in Illinois, and purposefully availed itself of the laws of Illinois

for the specific transactions and occurrences at issue.

        18.    St. Clair County is an appropriate venue for this litigation because Defendant does

business in St. Clair County, and is therefore a resident of St. Clair County. 735 ILCS 5/2-102.

        19.    In addition, the transactions and occurrences out of which the causes of action

pleaded herein arose or occurred, in part, in St. Clair County.

IV.    The Biometric Information Privacy Act

       20.     “Biometrics” refers to “biology-based set[s] of measurements.” Rivera v. Google

Inc., 238 F. Supp. 3d 1088, 1094 (N.D. III. 2017). Specifically, “biometrics” are “a set of

measurements of a specified physical component (eye, finger, voice, hand, face).” Id. at 1296.

        21.    BIPA was enacted in 2008 in order to safeguard Biometric Data due to the “very

serious need [for] protections for the citizens of Illinois when it [comes to their] biometric

information.” Illinois House Transcript, 2008 Reg. Sess. No. 276. BIPA is codified as Act 14 in

Chapter 740 of the Illinois Compiled Statutes.




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       22.     As set forth in BIPA, biologically unique identifiers, such as scans of individuals’

facial geometry, cannot be changed. 740ILCS 14/5(c). As is likewise explained in BIPA, the

inalterable nature of individuals’ biologically unique identifiers presents a materially heightened

risk of serious harm when Biometric Data is not protected in a secure and transparent fashion.

740 ILCS 14/5(dHg)-

       23.     As a result of the need for enhanced protection of Biometric Data, BIPA imposes

various requirements on private entities that collect or possess individuals’ biometric identifiers,

including scans of individuals’ facial geometries.

       24.     Among other things, BIPA regulates “the collection, use, safeguarding, handling,

storage, retention, and destruction of biometric identifiers and information.” 740 ILCS 14/5(g).

       25.     BIPA applies to entities that interact with two forms of Biometric Data: biometric

“identifiers” and biometric “information.” 740 ILCS 14/15(a)-(e).

       26.     “Biometric identifiers” are physiological, as opposed to behavioral,

characteristics. Examples include, but are not limited to, face geometry, fingerprints,

voiceprints, DNA, paimprints, hand geometry, iris patterns, and retina patterns. As the Illinois

General Assembly has explained:

        Biometrics are unlike other unique identifiers that are used to access finances or
        other sensitive information. For example, social security numbers, when
        compromised, can be changed. Biometrics, however, are biologically unique to the
        individual; therefore, once compromised, the individual has no recourse, is at
        heightened risk for identity theft, and is likely to withdraw from biometric-
        facilitated transactions.

740 ILCS 14/5(c). Moreover,

        A person cannot obtain new DNA or new fingerprints or new eyeballs for iris
        recognition, at least not easily or not at this time. Replacing a biometric identifier
        is not like replacing a lost key or a misplaced identification card or a stolen access
        code. The Act’s goal is to prevent irretrievable harm from happening and to put in
        place a process and rules to reassure an otherwise skittish public.


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Sekura v. Krishna Schaumburg Tan, Inc., 2018 IL App (1st) 180175, H 59, 115 N.E.3d

1080, \m, appeal denied, 119N.E.3d 1034 (III. 2019).

        27.      In BIPA’s text, the General Assembly provided a non-exclusive list of protected

“biometric identifiers,” including “a retina or iris scan, fingerprint, voiceprint, or scan of hand or

face geometry.” 740 ILCS 14/10. In this case, the biometric identifiers at issue are the scans of

face geometries of individuals, including Plaintiffs, collected by Defendant via its proprietary

software without any notice to or consent from the individuals whose biometric identifiers are

collected.

        28.      “Biometric information” consists of biometric identifiers used to identify a

specific person. BIPA defines “biometric information” as “any information, regardless of how it

is captured, converted, stored, or shared, based on an individual’s biometric identifier used to

identify an individual.” Id.^ (emphasis added).

        29.      In BIPA, the General Assembly identified four distinct activities that may subject

private entities to liability:

                 (1)     collecting Biometric Data, 740 ILCS 14/15(b);

                 (2)     possessing Biometric Data, 740 ILCS 14/15(a);

                 (3)     profiting from Biometric Data, 740 ILCS 14/15(c); and

                 (4)     disclosing Biometric Data, 740 ILCS 14/15(d).

BIPA also created a heightened standard of care for the protection of Biometric Data. 740 ILCS

14/15(e).



        i
          As set forth below, in this case the biometric identifiers at issue are the facial
geometries of individuals, including Plaintiffs, collected by Defendant. These biometric
identifiers become biometric information when Defendant’s facial recognition algorithms
identify individuals based on biometric identifiers.
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       30.     As the Illinois Supreme Court has held, BIPA “codified that individuals possess a

right to privacy in and control over their biometric identifiers and biometric information.”

Rosenbach v. Six Flags Entm’t Corp.,2m\L 123186,^133, 129N.E.3d 1197, 1206(111. 2019).

The Illinois Supreme Court further held that when a private entity fails to comply with BIPA

“that violation constitutes an invasion, impairment, or denial of the statutory rights of any person

or customer whose biometric identifier or biometric information is subject to the breach.” Id.

       A.      Collecting Biometric Data Under Section 15(b)

       31.     BIPA establishes categories of prohibited conduct related to Biometric Data, and

establishes requirements that parties must follow when interacting with Biometric Data. As

Section 15(b) provides:

       No private entity may collect, capture, purchase, receive through trade, or otherwise
       obtain a person’s or a customer’s biometric identifier or biometric information,
       unless it first:

               (1)     informs the subject or the subject’s legally authorized representative
                       in writing that a biometric identifier or biometric information is
                       being collected or stored;

               (2)     informs the subject or the subject’s legally authorized representative
                       in writing of the specific purpose and length of term for which a
                       biometric identifier or biometric information is being collected,
                       stored, and used; and

               (3)     receives a written release executed by the subject of the biometric
                       identifier or biometric information or the subject’s legally
                       authorized representative.

740 ILCS 14/15(b).

       32.     To “collect” means “to bring together into one body or place,” or “to gather or

exact from a number of persons or sources.”^



       ^ Definition of “collect”, Merriam-Webster, https://www.merriam-
webster.com/dictionary/collect (last visited Feb 28, 2020).
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       33.     Collection, therefore, is the act of gathering together, and is separate from

possession, which is not an element of collection.

       34.     BIPA imposes three requirements that must be satisfied before any private entity

may “collect” biometric information:

               (a)    First, the private entity must inform the individual in writing that the
                      individual’s biometric information is being collected or stored. 740 ILCS
                      14/15(b)(l).

               (b)    Second, the private entity must inform the individual in writing of the
                      purpose and length of time for which their biometric information is being
                      collected, stored, and used. 740 ILCS 14/I5(b)(2).

               (c)    Finally, the private entity must receive a written release executed by the
                      individual. 740 ILCS 14/15(b)(3).

       35.     BIPA defines a “written release,” outside the employment context, to mean

“informed written consent.” 740 ILCS 14/10.

       B.      Possessing Biometric Data Under Section ISCal

       36.     With respect to possession of Biometric Data, BIPA provides as follows:

       A private entity in possession of biometric identifiers or biometric information must
       develop a written policy, made available to the public, establishing a retention
       schedule and guidelines for permanently destroying biometric identifiers and
       biometric information when the initial purpose for collecting or obtaining such
       identifiers or information has been satisfied or within 3 years of the individual’s
       last interaction with the private entity, whichever occurs first.

740 ILCS 14/I5(a). Entities in possession of Biometric Data therefore must develop and make

public a written policy containing a retention schedule for Biometric Data, as well as guidelines

for the destruction of Biometric Data. Id.

       37.     BIPA requires that the required public, written policy include information about

how the entity will destroy Biometric Data. Id.




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       38.     The plain and ordinary meaning of the word “possession” is “the act of having or

talcing into control” or “control or occupancy of property without regard to ownership.”^

       39.     A private entity that controls Biometric Data, therefore, possesses Biometric Data

under Section 15(a).

       40.     Section 15(a) regulates Biometric Data that is controlled by a private entity

regardless of whether that entity owns the Biometric Data.

       41.     Here, for example. Defendant controls Plaintiffs’ Biometric Data, even though

Defendant does not own that data. Therefore, as alleged in further detail below, Defendant

possesses Plaintiffs’ Biometric Data under Section 15(a).

       C.      BIPA’s Unqualified Prohibition on Profiting from Biometric Data
               Under Section 15(cl

       42.     BIPA additionally bars private entities from profiting from Biometric Data.

Section 15(c) provides as follows:

       No private entity in possession of a biometric identifier or biometric information
       may sell, lease, trade, or otherwise profit from a person’s or a customer’s biometric
       identifier or biometric information.

740 ILCS 14/15(c).

       43.     Section 15(c) is an unqualified prohibition on profiting from Biometric Data.

Section 15(c) applies to this case, for among other reasons, because Defendant developed the

face recognition “feature” of its Photos App in order to competitively position its devices and

software in the marketplace, compete with other software applications, and thereby profit.




       ^ Definition of “possession”, Merriam-Webster, https://www.merriam-
webster.com/dictionary/possession (last visited Feb. 28, 2020).
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V.     The Serious Threats Posed by Biometric Data

       44.     Extracting an individual’s face geometry data in order to confirm a subsequent

match of the individual’s face—also known as “facial recognition” or “faceprinting”—uses

biological characteristics to verify an individual’s identity.

        45.    Use of facial recognition technology can be highly lucrative. The global facial

recognition market size is expected to grow dramatically—according to one source, from S3.2

billion in 2019 to $7 billion by 2024.**

        46.     However, the potential dangers of the use of facial recognition technology and

other biometric identifiers are widely known.

        47.     “Stolen biometric identifiers ... can be used to impersonate consumers, gaining

access to personal information.”^

        48.     Unlike other identifiers such as Social Security or credit card numbers, which can

be changed if compromised or stolen, biometric identifiers linked to a specific voice or face

cannot be modified—ever. These unique and permanent biometric identifiers, once exposed,

leave victims with no means to prevent identity theft and unauthorized tracking. Recognizing

this, the Federal Trade Commission has urged companies using facial recognition technology to

ask for consent before scanning and extracting Biometric Data from photographs.^



         Facial Recognition Market Worth $7.0 Billion by 2024, Markets and Markets,
https://www.marketsandmarkets.com/PressReleases/facial-recognition.asp (last visited Mar. 3
2020).
        5
        Elias Wright, The Future ofFacial Recognition Is Not Fully Known: Developing
Privacy and Security Regulatory Mechanisms for Facial Recognition in the Retail Sector, 29
Fordham Intell. Prop. Media & Ent. L.J. 611, 629 (2019).

      ^ See Facing Facts: Best Practices for Common Uses ofFacial Recognition
Technologies, Federal Trade Commission (Oct. 2012), https://www.ftc.gov/


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       49.      The threats posed by facial recognition technology can be more insidious than the

threats posed by the use of other biometric information, such as fingerprints. Indeed, as

commentators have recognized, “facial recognition creates acute privacy concerns that

fingerprints do not.”’ Once a person or entity has an individual’s facial Biometric Data:

       [T]hey can get your name, they can find your social networking account, and they
       can find and track you in the street, in the stores that you visit, the . . . buildings
       you enter, and the photos your friends post online. Your face is a conduit to an
       incredible amount of information about you, and facial recognition technology can
       allow others to access all of that information from a distance, without your
       knowledge, and in about as much time as it takes to snap a photo. 8

       50.      Researchers have even demonstrated the ability to “infer personally predictable

sensitive information through face recognition.”^

       51.      Further, facial recognition technology may “be abused in ways that could threaten

basic aspects of our privacy and civil liberties[:]

       Biometrics in general are immutable, readily accessible, individuating, and can be
       highly prejudicial. And facial recognition takes the risks inherent in other
       biometrics to a new level. Americans cannot take precautions to prevent the
       collection of their image. We walk around in public. Our image is always exposed
       to the public. Facial recognition allows for covert, remote, and mass capture and


sites/default/files/documents/reports/facing-facts-best-practices-common-uses-facial-recognition-
technologies/121022facialtechrpt.pdf

       ’ What Facial Recognition Technology Means for Privacy and Civil Liberties: Hearing
Before the Subcomm. On Privacy Tech & the Law of the S. Comm. On the Judiciary, 112th
Cong. 1 (2012) (statement of Sen. A1 Franken, Chairman, Subcomm. On Privacy, Tech. & the
Law of the S. Comm. On the Judiciary), available at https://www.govinfo.gov/content/
pkg/CHRG-112shrg86599/pd£/CHRG-l 12shrg86599.pdf
       8
           Franken, supra.

        ^ Alessandro Acquisti et al., Face Recognition and Privacy in the Age ofAugmented
Reality, J. Privacy and Confid. (2014), available at https://www.heinz.cmu.edu/~acquisti/papers/
AcquistiGrossStutzman-JPC-2014.pdf

           Franken, supra.


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       identification of images, and the photos that may end up in a data base include not
       just a person’s face but also what she is wearing, what she might be carrying, and
       who she is associated with. This creates threats to free expression and to freedom
       of association that are not evident in other biometrics.**

       52.     Many experts believe that “facial recognition technology is the most uniquely

dangerous surveillance mechanism ever invented. »12

       53.     Because of these dangers, “privacy protections,” such as those found in BIPA, are

necessary for “all facial recognition technologies, including those that do not individually

identify consumers. »I3

       54.     Indeed, the Illinois Supreme Court has held that in BIPA the Illinois “General

Assembly has codified that individuals possess a right to privacy in and control over their

biometric identifiers and biometric information.” Rosenbach, 129 N.E.3d at 1206.

       55.     In so holding, the Court explicitly recognized the “difficulty in providing

meaningful recourse once a person’s biometric identifiers or biometric information has been

compromised.” Id. As it further held, “[t]he situation is particularly concerning, in the




        * * What Facial Recognition Technology Means for Privacy and Civil Liberties: Hearing
Before the Subcomm. On Privacy Tech & the Law of the S. Comm. On the Judiciary, 112th
Cong. 1 (2012) (statement of Jennifer Lynch, Staff Attorney, Electronic Frontier Foundation),
available at https://www.govinfo,gov/content/pkg/CHRG-l 12shrg86599/pdf/CHRG-
l 12shrg86599.pdf

         *^ See, e.g., Woodrow Hartzog & Evan Selinger, Facial Recognition Is the Perfect Tool
for Oppression, Medium (Aug. 2, 2018), https://medium.com/s/story/facial-recognition-is-the-
 perfect-tool-for-oppression-bc2a08fDfe66.

        *^ See Facing Facts: Best Practices for Common Uses ofFacial Recognition
Technologies, Federal Trade Commission (Oct. 2012), https://www.ftc.gov/sites/
default/files/documents/reports/facing-facts-best-practices-common-uses-facial-recognition-
technologies/121022facialtechrpt.pdf


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legislature’s judgment, because [t]he full ramifications of biometric technology are not fully

known.’” Id. (citing BIPA).

       56.      Storing Biometric Data on personal devices (as opposed to on a server) does not

remove the substantial dangers associated with Biometric Data, because personal devices are

intrinsically vulnerable to hackers and other malicious bad actors.*”* Instead, storing Biometric

Data on personal devices creates an independent threat of serious harm that is associated with

each personal device that contains Biometric Data.

        57.     Moreover, Biometric Data may persist on discarded devices. “Realistically,

unless you physically destroy a device, forensic experts can potentially extract data from it. »15

The Federal Trade Commission has recognized that sensitive data on individual devices poses

grave risks, including of identity theft.'^




        *”* See, e.g., Taylor Telford, Google Uncovers 2-Year iPhone Hack That Was 'Sustained’
and ‘Indiscriminate’, Washington Post (Aug. 30, 2019, 8:52 AM), https://www.washingtonpost.
com/business/2019/08/30/google-researchers-uncover-year-iphone-hack-tied-malicious-
websites/ (citing Ian Beer, A Very Deep Dive Into iOS Exploit Chains Found in the Wild, Google
Project Zero Blog (Aug. 29, 2019), https://googleproject2ero.blogspot.coni/2019/08/a-very-deep-
dive-into-ios-exploit.html); Jeb Su, Apple Issues 3 Emergency Security fixes To Block Hackers
From Taking Over iPhones, Macs, Apple TVs, Forbes (Aug. 26, 2019, 7:17 PM),
https://www.forbes.eom/sites/jeanbaptiste/2019/08/26/apple-issues-3-emergency-security-fixes-
to-block-hackers-from-taking-over-iphones-macs-appIe-tvs/#6fc6f3a76da2.

         Josh Frantz, Buy One Device, Get Data Free: Private Information Remains on
Donated Tech, Rapid7 Blog (Mar. 19, 2019), https://blog.rapid7.eom/2019/03/l9/buy-one-
device-get-data-free-private-information-remains-on-donated-devices/.

          How to Protect Your Phone and the Data On It,
https://www.consumer.ftc.gov/articles/how-protect-your-phone-and-data-it (last visited Mar. 3,
2020).


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          58.    The use of Biometric Data “leads to the fear that a data breach or sale by one

holder of a piece of a person’s biometric information would compromise the security of all

relationships that are verified by that same piece. »17

          59.    This fear is not based on mere conjecture. Biometric Data has been illicitly

targeted by hackers. For example, a security firm recently uncovered a “major breach” of a

biometric system used by banks, police, defense firms, and other entities.'^ This breach involved

exposure of extensive biometric and other personal data, including facial recognition data and

fingerprints. Id.

          60.    Even anonymized Biometric Data poses risks. For example, according to a recent

report:

          In August 2016, the Australian government released an “anonymized” data set
          comprising the medical billing records, including every prescription and surgery,
          of 2.9 million people. Names and other identifying features were removed from the
          records in an effort to protect individuals’ privacy, but a research team from the
          University of Melbourne soon discovered that it was simple to re-identify people,
          and learn about their entire medical history without their consent, by comparing the
          dataset to other publicly available information, such as reports of celebrities having
          babies or athletes having surgeries.*^




         Matthew B. Kugler, From Identification to Identity Theft: Public Perceptions of
Biometric Privacy Harms, 10 UC Irvine L. Rev. 107, 132 (2019).

         Josh Taylor, Major Breach Found in Biometrics System Used by Banks, UK Police and
Defence Firms, The Guardian (Aug. 14, 2019, 3:11 PM), https://www.theguardian.com/
technology/ 2019/aug/14/major-breach-found-in-biometrics-system-used-by-banks-uk-police-
and-defence-firms.

         Olivia Solon, ‘Data Is A Fingerprint’: Why You Aren't as Anonymous As You Think
Online, The Guardian (Jul. 13, 2018, 4:00 PM) https://www.theguardian.com/world/2018/jul/13/
anonymous-browsing-data-medical-records-identity-privacy.


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Indeed, “[tjhere is a growing skepticism in the field of data protection and privacy law

that biometric data can never truly be deidentified or anonymized. »20

       61.      The collection and use of Biometric Data is especially problematic in relation to

the collection of Biometric Data from minors, who cannot provide informed consent and may be

unaware of the serious harms that can result from the release of Biometric Data.

       62.      The heightened sensitivity of minors’ personal data has been recognized by the

federal government in the Children’s Online Privacy Protection Act, which provides special

protections for children’s personal data.^‘

       63.      “The monetization of children’s biometric ... data is also concerning even if such

data are anonymized.”^^ Even “before minors come of age their immutable biometric or health-

related data could be collected[.]”^^ Once a minor’s biometric information is compromised, the

damage can be permanent.




           Justin Banda, Inherently Identifiable: Is It Possible To Anonymize Health And Genetic
Data?, International Association of Privacy Professionals Privacy Perspectives (Nov. 13, 2019),
https://iapp.org/news/a/inherently-identifiable-is-it-possible-to-anonymize-health-and-genetic-
data/.

          See Child Online Privacy Protection Act of 1998, 15 U.S.C. §§ 6501-6506; 16 C.F.R. §
312.2 (defining personal information as including “[a] photograph, video, or audio file where
such file contains a child’s image or voice”; see also Children's Online Privacy Protection Rule:
A Six-Step Compliance Plan for Your Business, FTC (June 2017), https://www.flc.gov/tips-
advice/business-center/guidance/childrens-online-privacy-protection-rule-six-step-compliance.

         Stacy-Ann Elvy, Commodifying Consumer Data in the Era of the Internet of Things, 59
B.C. L. Rev. 423,447 (2018).

        ^^Id.


                                                 15

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VI.      Defendant Violated BIPA and Exposed Plaintiffs to Serious Harms

         A.       Defendant Collected Plaintiffs’ Biometric Data

         64.      Defendant’s facial recognition technology is offered as a “feature” of its Photos

App that is included by default in its operating systems as well as pre-installed on its devices

sold to customers.

         65.      Defendant began automatically collecting Biometric Data through iPhones via its

Photos App with the release of its operating system iOS, version 10, on June 13, 2016. This

operating system included the Photos App.^'*

         66.      Defendant’s Photos App is included on iOS^^ iPadOS^^, and MacOS^’ operating

systems, and is present on Apple Devices. These operating systems and the Photos App come

preinstalled on Apple Devices.

         67.      The facial recognition “feature” of Defendant’s Photos App functions by scanning

a user’s photo library for faces, and then, using facial recognition technology that extracts




           See. e.g., Jackie Dove, iOS 10 Photos: All the New Features and How to Use Them,
Tom’s Guide (Sept. 15,2016), https://www.tomsguide.com/us/ios-photos-features-and-
tutorial,review-3817.html; Jason Cipriani, Photos App on iOS 10: Albums, Searching and
Memories, CNET (Sept. 12, 2016), https://www.cnet.com/how-to/whats-new-with-photos-on-
ios-10/.

              Photos for iOS and iPadOS, https://www.apple.com/ios/photos/ (last visited Mar. 3,
2020).

         ^^Id.

         ^Ud.

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biometric identifiers from photographs, adding frequently found faces to the user’s People

album.2«

       68.        In U.S. Patent No. 9,977,952 (filed Oct. 31, 2016), Defendant explained this

process as follows:

       Facial recognition (or recognition) relates to identifying a person represented in an
       image. Recognition can be accomplished by comparing selected facial features
       from a graphical face to a facial database. Facial recognition algorithms can identify
       faces by extracting landmarks corresponding to facial features from the image. For
       example, an algorithm may analyze the relative position, size, and shape of the eyes,
       nose, cheekbones, and jaw.

Id. at 1:32-40.

       69.        Accordingly, the Photos App creates a scan of face geometry, which BIPA

defines as a “biometric identifier.” See 740ILCS 14/10.

       70.        Defendant’s facial recognition algorithms are run on Apple Devices.^^




           Find People in Photos on iPhone, https://support.apple.com/guide/iphone/find-people-
in-photos-iph9c7ee918c/ios (last visited Mar. 3, 2020); People - iPhone User Guide
https://help.apple.eom/iphone/10/#/iph9c7ee918c (last visited Mar. 3, 2020); Find and Identify
Photos of People Using Photos on Mac, https://support.apple.com/guide/photos/view-photos-by-
whos-in-them-phtad9d981ab/mac (last visited Mar. 3, 2020).

           See U.S. Patent No. 9,977,952 (filed Oct. 31, 2016). The system described in Fig. 2 of
the ’952 Patent represents “an exemplary system for correlating graphical faces.” Id. at 3:23-24.
Note that the computer system (labeled 204) performing the facial correlations “can be
embedded in another device, such as a mobile telephone, a digital camera, a digital scanner, a
digital video recorder, a personal digital assistant (PDA) ....” Id. at 19:16-20. Thus, the ’952
Patent describes embodiments wherein the facial correlation algorithm is executed on desktops
and laptops as well as on smart phones and tablets. See also Computer Vision Machine Learning
Team, An On-device Deep Neural Networkfor Face Detection, Apple Machine Learning
Journal, Nov. 2017, available at https://machineleaming.apple.eom/2017/l 1/16/face-
detection.html (describing how Defendant developed machine learning algorithms to perform
facial recognition locally on Apple Devices.)


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         71.    Biometric Data taken from an Apple Device user’s image library are stored in

what Defendant calls a facial recognition database,^® or facial database,^* in the solid state

memory on the user’s Apple Device.

         72.    Not only does Defendant use face geometries to identify individuals, with iOS

version 11 it uses face geometries to model users faces^^ and track the users’ expressions in real

time.^^ Defendant calls this “intelligent face recognition.”^'*

         73.    Defendant has published the following visualization of the face geometry it

creates from pictures in users’ photo libraries:^^




           See U.S. Patent No. 9,600,483 (filed Sep. 26, 2012) at 10:64.

           See ’952 Patent at 1:36; U.S. Patent No. 9,818,023 (filed Jan. 26, 2017) at 1:26; U.S.
Patent No. 9,589,177 (filed Mar. 22, 205) at 1:24; U.S. Patent No. 9,514,355 (filed Dec. 6, 2016)
at 1:34; U.S. Patent No. 9,495,583 (filed May 5, 2009) at 1:26-27; U.S. Patent No. 8,989,455
(filed Jan. 28, 2013) at 1:21-22.

          Tracking and Visualizing Faces | Apple Developer Documentation,
https://developer.apple.com/documentation/arkit/tracking_and_visualizing_faces (last visited
Mar. 3, 2020) (“Use Face Geometry to Model the User’s Face”).

          Face Tracking with ARX.it - Tech Talks - Videos - Apple Developer,
https://developer.apple.com/videos/play/tech-talks/601/ (last visited Mar. 3, 2020); Tracking the
User’s Face in Real Time | Apple Developer Documentation, https://developer.apple.com/
documentation/vision/tracking_the_user_s_face_in_real_time (last visited Mar. 3, 2020) (“In
order to visualize the geometry of observed facial features, the code draws paths around the
primary detected face and its most prominent features.”).

           Photos for iOS and iPadOS, https://www.apple.com/ios/photos/ (last visited Mar. 3,
2020).

          https://devimages-cdn.apple.com/wwdc-
services/images/8/1998/l998_wide_250xl41_2x.jpg (last visited Mar. 3, 2020).
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                  After creating facial templates, Defendant uses facial recognition algorithms to

analyze digital photographs stored on its devices and automatically group photographs into

albums based on whether a person’s face is in the photograph. Children and minors are included

among those whose facial geometries are analyzed and grouped by Defendant.

        75.       Defendant’s facial recognition algorithms calculate a unique digital representation

of faces based on geometric attributes, such as distance between the eyes, width of the nose, and

other features.

        76.       Defendant’s software collects Biometric Data to group all photographs that

include a particular person’s face into an album or folder.

        77.       Defendant creates a unique faceprint for every person appearing in any

photograph stored using its Photos App.

        78.       Defendant collects this face Biometric Data without obtaining consent, let alone

the “informed written consent” required by BIPA.




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         79.     Defendant’s devices, further, collect Biometric Data from all individuals,

including minors, whose faces appear in Apple Device users’ photographs—notjustfrom Apple

Device users.

         80.     Defendant confirms these capabilities and seeks to profit from its collection of

Biometric Data by advertising its Photos App as being able to “recognize the people, scenes, and

objects in [photographs]. ”36

         81.     Defendant further advertises that its Photos App “uses advanced computer vision

to scan all of your photos” so that users can “[sjort your images by your favorite subjects     the

people in your life.”^^

         82.     In order to sort photos. Defendant admits that its Photos App uses “[ijntelligent

face recognition and location identification. ”38

         83.     Defendant advertises to users the ability “to find the exact photos you’re looking

for, based on who you were with or where you were when you took them. ”39

         84.     Defendant collects biometric identifiers and biometric information for individuals

whose faces appear in photographs stored on Apple Devices. These Biometric Data are

catalogued on the Photos App.




           About People in Photos on Your iPhone, iPad, or iPod Touch,
https://support.apple.eom/en-us/HT207103 (last visited Mar. 3, 2020).

           Id.

           Photos for iOS and iPadOS, https://www.apple.com/ios/photos/ (last visited Mar. 3,
2020).



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        85.     Defendant’s collection of biometric identifiers and biometric information through

its Photos App is automatic and occurs without the involvement or consent of an Apple Device

user whenever a new photograph is stored on an Apple Device.

        86.     Apple Device users cannot disable Defendant’s facial recognition technology, and

cannot prevent Defendant’s collection of Biometric Data from occurring.

        87.     Defendant provides no mechanism by which users or nonusers may opt out of the

collection of their Biometric Data.

        88.     Consumers who buy Apple Devices own the hardware but merely license the

software necessary for the device to function. That software is wholly owned and controlled by

Defendant."*®

        89.     Defendant’s applicable End User License Agreements (“EULAs”) provide as

follows: “The software ... [is] licensed, not sold, to you by Apple Inc. (‘Apple’) for use only

under the terms of this License. Apple and its licensors retain ownership of the Apple Software

itself and reserve all rights not expressly granted to you.”"*'

        90.     The Apple Device user is granted “a limited non-exclusive license to use the

Apple Software on a single Apple-branded Device” and cannot alter the software. ‘*^

        91.     Because disabling facial recognition is not permitted by Defendant, the use of

Apple Devices to take or store photographs is conditioned on the collection of Biometric Data.




         "*® See, e.g. iOS and iPad OS Software License Agreement, 1, https://www.apple.com/
legal/sla/docs/iOS 13_iPadOS13.pdf (last visited Mar. 3, 2020) (“iOS EULA”); Software License
Agreement for macOS Catalina, 1, https://www.apple.eom/legal/sla/docs/macOSCatalina.pdf
(last visited Mar. 3, 2020).

          iOSEULA at 1.

       ^^Id. at 2.
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            92.    Defendant indiscriminately collects Biometiic Data for all photogiaphic subjects.

including customers, nou-customers, and minors incapable of providing infoiined consent.

            93.    Defendant publishes the "‘Machine Learning Jomiial,” which contains posts

dedicated to describing the development of various of Defendant’s products. In one such post

horn November 2017, Defendant described the use of deep leainiug to facilitate the facial

recognition featiue used by the Photos App as packaged in iOS version 10.                          Defendant

describes the below figme as a “[t]ace detection workflow. >544

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          Computer Vision Machine Leaiiiing Team, An On-device Deep Neural Networkfor
Face Defection, Apple Machine Learning Journal, Nov. 2017, available of
https://machineleaiiiiug.apple.coni/2017/11/16/face-delectiou.html.

            ^Id.


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        94.     As this diagram demonstrates, the Photos App receives a photograph as input and

employs an algorithm that iterates its face detection process in increasingly finer detail in an

effort to create a “final prediction of the faces in the image.”'*^

        95.     At minimum, this demonstrates that when Defendant’s Photos App utilizes its

facial recognition “feature,” Defendant collects “biometric information” as defined by BIPA.

        96.     However, Defendant failed to obtain informed written consent prior to collecting

this biometric information as required by BIPA.

        97.     In its ’952 Patent, Defendant describes a method “for organizing images, such as

digital images, by correlating one or more faces represented in the images.” U.S. Patent No.

9,977,952 (filed Oct. 31, 2016) at 1:18-20.

        98.     Defendant explains in the ’952 Patent that its invention relates to “[f]acial

recognition algorithms.” M at 1:36-38.

        99.     On information and belief. Defendant has implemented the methods and

embodiments described in the ’952 Patent in its Photos App in collecting Biometric Data from

Plaintiffs and other Illinois residents.

        100.    Defendant has explained the “advantages” of its automatic collection of biometric

identifiers and automatic population of albums by persons in photographs on Apple Devices.

One such advantage that Defendant has identified involves helping Apple Device users to

understand the functionality of Defendant’s Photos App:

        Organizing images by the people represented in the media provides several
        potential advantages. For example, such an organizational scheme can be intuitive
        for users of an image system, enabling users to quickly understand the functioning
        of the system. Further, the burden of manually organizing many images can be
        substantially eliminated or reduced. In addition, images can be accurately grouped




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          based on a person represented in the images. Accurately grouping images can
          provide improved accessibility, organization and usability of the images by users.

Id. at 3:4-13.

          101.    After biometric identifiers are collected and Defendant’s software has a sufficient

sampling of images, the Photos App applies an algorithm to identify the Apple Device user,

thereby creating biometric information. The algorithm also uses biometric identifiers collected

from images to create individualized groupings of all photographs that include a particular

person, such as a friend or family member of the user.

          102.    Contrary to the requirements of BIPA, Defendant has not, despite its collection of

Biometric Data, developed any written policy, made available to the public, establishing a

retention schedule or guidelines for permanently destroying Biometric Data.

          103.    Consequently, Apple Devices are currently incapable of lawful use in Illinois,

because they automatically collect biometric information without consent in violation of BIPA,

and because the Apple Device user is prohibited by Defendant’s EULAs from altering

Defendant’s software, which Defendant alone owns and controls, to prevent the unlawful

collection of the Biometric Data of the user and those whose photographs appear on the user’s

device.

          104.    Defendant intentionally designed and licensed the Apple Devices to be incapable

of lawful use in Illinois.

          B.      Defendant Possesses Plaintiffs’ Biometric Data

          105.    Although, on information and belief. Defendant does not store or transfer all user

Biometric Data on or by means of its servers, it has complete and exclusive control over the

Biometric Data on Apple Devices. To be clear, Defendant controls:

          •    Whether biometric identifiers are collected;

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       •   What biometric identifiers are collected;
       •   The type of Biometric Data that are collected and the format in which they are stored;
       •   The facial recognition algorithm that is used to collect Biometric Data;
       •   What Biometric Data are saved;
       •   Whether biometric identifiers are used to identify users (creating biometric
           information);
       •   Whether Biometric Data are kept locally on users’ Apple Devices;
       •   Whether Biometric Data are encrypted or otherwise protected; and
       •   How long Biometric Data are stored.

        106.     The user of an Apple Device, in contrast, has no ability to control the Biometric

Data on the user’s Apple Device.

        107.     The user has no control over whether Biometric Data is collected from the user’s

photo library.

        108.     On Defendant’s iPhone and iPad devices, the Photos App automatically collects

biometric identifiers while running in the background.'*^

        109.     On Macintosh computers, the Photos App collects biometric identifiers from a

user’s image library as soon as the Photos App is opened.'*’

        no.      Users cannot disable the collection of Biometric Data, cannot limit what

information is collected or from whom information is collected, cannot remove the People

folder, and cannot delete the database of facial recognition information that Defendant creates or

any information in that database.




       ‘*^ Find People In Photos On iPhone - Apple Support, https://support.apple.com/guide/
iphone/find-peopIe-in-photos-iph9c7ee918c/ios (last visited Mar. 3, 2020); U.S. Patent No.
9,977,952 at 5:56-57.

          Find and Identify Photos of People Using Photos on Mac - Apple Support,
https://support.apple.com/guide/photos/view-photos-by-whos-in-them-phtad9d981 ab/mac (last
visited Mar. 3, 2020).


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         111.     Indeed, Defendant’s EULAs specifically prohibit users from modifying

Defendant’s software to prevent the collection of Biometric Data.'**

         112.     Defendant only allows users to use Apple Devices on the condition that

Defendant collects Biometric Data.

         113.     Defendant fully controls the Biometric Data on Apple Devices, and therefore

possesses it because, for among other reasons. Defendant forbids users from disabling the

Biometric Data collection of Apple Devices.

         C.       Defendant Profits from Plaintiffs’ Biometric Data

         114.     Defendant profits from the Biometric Data collected by Apple Devices through

the sale of those devices.

         115.     Defendant uses the face recognition “feature” of its Photos App in order to

advertise its operating systems and Apple Devices to potential users.

         116.      Defendant advertises its Photos App as being able to “recognize the people,

scenes, and objects in [photographs]. M9 and that it “uses advanced computer vision to scan all of

your photos” so that users can “[sjort your images by your favorite subjects — the people in your

life.^® Defendant also advertises that users have the ability “to find the exact photos you’re

looking for, based on who you were with or where you were when you took them. »51




         48
              See. e.g.y iOS EULA at 1.

          About People in Photos on Your iPhone, iPad, or iPod Touch,
https://support.apple.eom/en-us/HT207103 (last visited Mar. 3, 2020).



              Photos for iOS and iPadOS, https://www.apple.com/ios/photos/ (last visited Mar. 3,
2020).
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        117.   Defendant developed these “features” for its Photos App to compete with similar

features being offered on other devices, giving Defendant a competitive edge that allowed

Defendant to profit from the sale of Apple Devices.

        118.   For the reasons set forth above, among others, Defendant profits from Biometric

Data.

        119. . Defendant is prohibited from profiting from any “person’s or ... customer’s

biometric information” because Defendant is “a private entity in possession of a biometric

identifier.” 740ILCS 14/15(c). Therefore, the fact that Defendant profits from the Biometric

Data it collects is unlawful.

        D.     Defendant’s Conduct Violates BIPA

        120.    Defendant has failed to comply with BIPA’s requirements concerning the

collection and possession of Biometric Data. With respect to its collection of Biometric Data,

Defendant failed to:

        (1)     inform the subject or the subject’s legally authorized representative in writing that
                a biometric identifier or biometric information is being collected or stored;

        (2)     inform the subject or the subject’s legally authorized representative in writing of
                the specific purpose and length of term for which a biometric identifier or
                biometric information is being collected, stored, and used; or

        (3)     receive a written release executed by the subject of the biometric identifier or
                biometric information or the subject’s legally authorized representative.

740 ILCS 14/15(b).

        121.    With respect to its possession of Biometric Data, Defendant failed to:

        develop a written policy, made available to the public, establishing a retention
        schedule and guidelines for permanently destroying biometric identifiers and
        biometric information when the initial purpose for collecting or obtaining such
        identifiers or information has been satisfied or within 3 years of the individual’s
        last interaction with the private entity, whichever occurs first.



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740 ILCS 15(a).

       122.    Defendant’s failure to comply with BIPA extends to nonusers of its devices. This

is because Defendant’s Photos App collects and possesses the Biometric Data of everyone who

appears in images stored on a user’s Apple Device.

        123.   Defendant does not have commercial relationships with the nonusers whose

Biometric Data it collects, and does not know which nonusers’ Biometric Data it is collecting.

Therefore, Defendant cannot obtain informed written consent from nonusers.

        124.   Furthermore, many of the nonusers from whom Defendant collects Biometric

Data are minors who cannot give informed written consent.

        125.   Defendant also does not comply with BIPA’s prohibition on profiting from

Biometric Data.

        126.   Defendant developed the facial recognition feature of its Photos App in part to

compete with other electronic device vendors and software developers, and in order to sell Apple

Devices.

        127.   Defendant did, in fact, profit from the sale of Apple Devices as a result of

Defendant’s facial recognition “feature.”

       E.      Defendant’s BIPA Violations Expose Plaintiffs and Other Illinois Residents to
               Threats of Serious Harm

        128.   Defendant’s BIPA violations present an imminent threat of serious harm to

Plaintiffs and the proposed class.

        129.   When Biometric Data is stored on personal electronic devices, persons from

whom Biometric Data has been collected face a multiplicity of threats.

        130.   Defendant does not delete the Biometric Data it collects, which are located on

numerous devices in this State. Moreover, an Apple Device user’s Biometric Data may be stored


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on one or more iPhones, iPads or MacBooks, as well as discarded Apple Devices. Furthermore,

nonusers’ Biometric Data that Defendant collects may be stored on one or more Apple Devices.

        131.   For example, an Illinois resident’s Biometric Data may be stored on the Apple

Devices of his or her family, his or her relatives, his or her friends, his or her coworkers, and

anyone else who photographed him or her using an Apple Device.

        132.   Apple Device users cannot prevent their devices from collecting their unique and

sensitive Biometric Data, and nonusers cannot control whether Apple Devices containing this

unique and sensitive information are lost, stolen, discarded improperly, given to vendors for

repair work, or recycled. Nonusers likewise cannot control whether their Biometric Data is

extracted, decrypted, or sold.

        133.   Information stored in a central location, such as a server, presents a single breach

threat. A sophisticated entity may take measures to securely and centrally store information.

guarding against the threat of a data breach. By contrast, as the result of the fact that the

Biometric Data that Defendant collects are stored on numerous devices, Plaintiffs and members

of the Class face the imminent threat of disclosure of their Biometric Data as a result of a data

breach on any one of the Apple Devices on which their Biometric Data are stored.

        134.   Defendant has greater than a 40% market share of the smartphone market in the

United States,^^ around 10% of the laptop market,^^ and approximately 17% of the desktop



         S. O’Dea, iPhone Users As Share of Smartphone Users In The United States 2014-
202f Statista (Feb. 27, 2020) https://www.statista.com/statistics/236550/percentage-of-us-
population-that-own-a-iphone-smaitphone/; Chance Miller, Canalys: Apple Shipped I4.6M
iPhones in North America During Ql, Securing 40% Marketshare, 9to5Mac (May 9, 2019 3:23
PM), https://9to5mac.com/2019/05/09/iphone-north-america-marketshare/.

           I. Mitic, Laptops by the Numbers: Market Share and More, Fortunly (Nov. 5, 2019),
https://fortunly.com/blog/lap-top-market-share/.


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market. 96% of adult Americans use smartphones and approximately 75% percent of Americans

own a desktop or laptop.^'*

        135.    Many of the Apple Devices used in this State have collected the Biometric Data

of multiple individuals other than the Apple Device user. Consequently, numerous Illinois

residents have their Biometric Data stored on one or more Apple Devices outside their control.

        136.    The durability of the memory in Apple Devices creates a nearly permanent risk of

a data breach of biometric identifiers and information for both device users as well as nonusers

whose Biometric Data have been collected. Apple Devices utilize solid state memory, which can

withstand drops, extreme temperatures, and magnetic fields.^^ Unless corrupted, this solid state

memory and the information it contains can last in perpetuity. Thus, the Biometric Data on

Apple Devices will likely outlast the device battery, the functionality of the device screen, and

the natural life of the device user.

        137.    Apple Devices, like all computing devices, are vulnerable to hackers and other

malicious bad actors. For example, the Washington Post recently reported that security

researchers discovered a “‘sustained’ . .. and indiscriminate campaign to hack iPhones through

certain websites, allowing attackers to steal messages, files and track location data every 60

seconds. ’>56 Just days prior to that report’s publication. Defendant released an “emergency fix”



          Mobile Fact Sheet, Pew Research Center (Jun. 12, 2019), available at
https://www.pewresearch.org/intemet/fact-sheet/mobile/.

         Roderick Bauer, SSD 101: How Reliable are SSDs?, BackBlaze (Feb. 21, 2019),
https://www.backblaze.com^log/how-reliable-are-ssds/.

          Taylor Telford, Google Uncovers 2-Year iPhone Hack That Was ‘Sustained’ and
‘Indiscriminate’, Washington Post (Aug. 30, 2019, 8:52 AM),
https://www.washingtonpost.com^usiness/2019/08/30/google-researchers-uncover-year-iphone-
hack-tied-malicious-websites/ (citing Ian Beer, A Very Deep Dive Into iOS Exploit Chains Found


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to a different vulnerability that allowed “malicious hackers to take control of all Apple desktop

and laptop computers [and] mobile devices. »57

        138.       Biometric Data may persist on discarded Apple Devices, which could be extracted

by malicious actors using methods of removal that may or may not currently exist.^^ The risk of

illicit harvesting of biometric information from discarded Apple Devices therefore extends far

into the future.

        F.         Defendant Is Liable for Its BTPA Violations both Directly and Vicariously

        139.       Defendant is directly liable for the BIPA violations based on the functionality of

its proprietary software, which it wholly owns and exclusively controls, and which Apple Device

users are prohibited from owning, controlling, or modifying.

        140.       Furthermore, Defendant is vicariously liable for BIPA violations because its

software operated as a “software agent:”

        A software agent is essentially a software version of a concept familiar in the law:
        an entity that performs a task, with some degree of autonomy, on behalf of someone
        else. An agent in the physical world can perform its task without input from the
        principal; this is equally true when an agent is a machine, such as a robot on a


in the Wild, Google Project Zero Blog (Aug. 29, 2019), https://googleprojectzero.blogspot.com/
2019/08/a-very-deep-dive-into-ios-exploit.html).

          Jeb Su, Apple Issues 3 Emergency Security Fixes To Block Hackers From Taking Cher
iPhones, Macs, Apple TVs, Forbes (Aug. 26, 2019, 7:17 PM), https://www.forbes.com/sites/
jeanbaptiste/2019/08/26/apple-issues-3-emergency-security-fixes-to-block-hackers-from-taking-
over-iphones-macs-apple-tvs/#6fc6f3a76da2.

           See, e.g. Josh Frantz, Buy One Device, Get Data Free: Private Information Remains
on Donated Tech, Rapid7 Blog (Mar. 19, 2019), https://blog.rapid7.eom/2019/03/19/buy-one-
device-get-data-free-private-information-remains-on-donated-devices/; William Gallagher, Wipe
Your iPhone Before Selling It, Because If You Don't You Might Get Your Data Stolen, Apple
Insider (Jul 26, 2018), https://appleinsider.com/articles/18/07/26/wipe-your-iphone-before-
selling-it-because-if-you-dont-you-might-get-your-data-stolen.; How to Protect Your Phone and
the Data On It, https://www.consumer.ftc.gov/articles/how-protect-your-phone-and-data-it (last
visited Mar. 3, 2020).


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          factory floor, which can perform its repetitive task without needing constant human
          guidance. A software agent operates in the same way—it can perform its task
          without human input. For example, a software agent useful to shoppers could scan
          a large number of websites for a certain product, and identify the website offering
          the product at the lowest price; to the text of the note without such a program, the
          human user would have to look at each website herself.

NetFuel, Inc. v. F5 Networks, Inc., No. 13-7895, 2017 WL 2834538, at *1 (N.D. III. June 29,

2011); see also Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005)

(technology distributor contributorily and vicariously liable for the unlawful use of technology

where the technology has an “unlawful objective”); Akamai Techs., Inc. v. Limelight Networks,

Inc., 797 F.3d 1020, 1024 (Fed. Cir. 2015) (software designer liable for infringing conduct of

software where use of software “conditioned” on infringing behavior); Shaw v. Toshiba Am. Info.

Sys., Inc., 91 F. Supp. 2d 926 (E.D. Tex. 1999) (software designer liable for harm to third party

caused by software).

          141.   In this case, Defendant, in addition to being directly liable, is also vicariously

liable for BIPA violations caused by the use of Apple Devices because, under principles of

agency law, Defendant’s Apple Devices functioned as software agents subject to the actual

authority of Defendant, because Defendant acted negligently in controlling its proprietary

software installed on Apple Devices, or both. Restatement (Third) Of Agency §§ 7.04; 7.05

(2006).

          142.   Further, Defendant is vicariously liable because the use of its Apple Devices was

conditioned on unlawful use and had an objective that was unlawful under Illinois law.

VII.      Plaintiffs’ Experiences with Defendant’s Products

          143.   Each Plaintiff has used one or more Apple Device to take or store photographs of

themselves and other people. No Plaintiff was aware Defendant’s facial recognition technology

would collect Biometric Data and organize photographs based on facial geometries. However,

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Defendant’s facial recognition technology has collected Biometric Data not only from Plaintiffs,

but also from individuals appearing in photographs on Plaintiffs’ Apple Devices, including

parents, grandchildren, siblings, cousins, friends, and/or co-workers of Plaintiffs.

        144.   Plaintiff Roslyn Hazlitt has owned an iPhone for several years; her phone has

contained pictures of herself since that time. She is not aware of the People and Places facial

recognition “feature.” She never agreed to allow Defendant to collect her Biometric Data.

Nevertheless, the People and Places feature of the Photos App on Ms. Hazlitt’s iPhone has

automatically generated albums that contain photographs of herself as well as her father based on

Defendant’s collection of her Biometric Data and her father’s Biometric Data.

        145.   Plaintiff Jane Doe is an eight-year-old minor. She owns an iPad, which she has

used to take photos, including of herself. She also appears in the photographs of her relatives

who own various Apple products. She has not, and cannot, give consent for her biometric

information to be collected or possessed by Defendant. Further, Jane Doe’s parents have not

given informed written consent to allow Defendant to collect or possess Jane Doe’s Biometric

Data. The People and Places “feature” of the Photos App on Jane Doe’s iPad has automatically

generated a photo album that contains photographs of Jane Doe based on Defendant’s collection

of her Biometric Data.

        146.   Plaintiff Richard Robinson has owned an iPhone for several years. Mr. Robinson

also has previously owned an iPad. Mr. Robinson has taken photos with his iPhone, including of

himself and other family members. Although he has “tagged” individuals.in the photographs

that Defendant has organized by facial geometry, Mr. Robinson is unsure whether he has ever

actually used Defendant’s People and Places “feature” in the Photos App, and has never

provided consent, let alone informed written consent, for his Biometric Data to be used or



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collected. Nevertheless, the People and Places feature in the Photos App on his iPhone has

created various albums for individuals appearing in his photographs:



                          mmmmm




The above screenshot is from Mr. Robinson’s iPhone and shows the people-specific albums

automatically generated by Defendant’s software. From left to right, top to bottom, the albums .

in the above screenshot correspond to Mr. Robinson’s wife, daughter-in-law, brother, daughter.

himself, and granddaughter.


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       147.    Plaintiff Yolanda Brown has had an iPhone for several years, and has taken

various photographs throughout that period. The earliest photos of herself that are currently

stored on her iPhone date from approximately ten years ago. She was not aware of Defendant’s

People and Places “feature” of the Photos App, though she has “tagged” individuals in the

photographs that Defendant has organized by facial geometry. The People and Places feature of

the Photos App on Ms. Brown’s phone has automatically generated photo albums for

photographs containing each of her three nieces, six aunts, five cousins, and brother. Ms. Brown

never consented to Defendant’s collection of her Biometric Data.

       148.    On information and belief. Defendant applies its facial recognition technology to

every picture that a user saves on his or her Apple Device running Defendant’s Photos App.

       149.    When an Illinois resident purchases an Apple Device, Defendant does not inform

them that Biometric Data will be collected from every person whose picture is stored on the

device, including the Apple Device user and any other person whose face appears in a

photograph stored on the Photos App. Defendant has not informed Plaintiffs that Biometric Data

has been and is being collected fi’om the individuals whose faces appear in photographs stored on

users’ Photos Apps.

        150.   Moreover, Defendant has not informed Plaintiffs that the Photos App is installed

on their devices by default and will operate on mobile devices whenever a photograph is added

to the Photos App or when the Photos App is started on laptop or desktop computers.

        151.   As a result, Defendant did not obtain consent from Plaintiffs in any form prior to

collecting their facial geometry data, let alone written, informed consent as required by BIPA.

Nor has Defendant obtained consent from other members of the proposed class, including minors

whose photos appear in the Photos App.



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        152.   Defendant has collected biometric information and biometric identifiers from

Plaintiffs in violation of BIPA.

Vni. Class Allegations

        153.   Plaintiffs seek to represent the following similarly situated individuals

(collectively, the “Class”):

        Subclass 1:    All Illinois citizens whose faces appeared in one or more
                       photographs taken or stored on their own Apple Devices running
                       the Photos App from March 4, 2015 until present.

        Subclass 2:    All Illinois citizens whose faces appeared in one or more
                       photographs taken or stored on an Apple Device other than their
                       own running the Photos App from March 4, 2015 until present.

        154.   Numerositv. The Class includes thousands of people, such that it is not practicable

to join all Class members into one lawsuit.

        155.    Commonality. The issues involved with this lawsuit present common questions of

law and fact, including:

        •   whether Defendant collected and/or possessed the Class’s biometric identifiers or
            biometric information;

        •   whether Defendant profited from biometric identifiers or biometric information;

        •   whether Defendant properly informed Class members that it captured, collected, used,
            and stored their biometric identifiers and/or biometric information;

        •   whether Defendant obtained “informed written consent” (740 ILCS 14/10) to capture,
            collect, use, and store Class members’ biometric identifiers and/or biometric
            information;

        •   whether Defendant used Class members’ biometric identifiers and/or biometric
            information to identify them; and

        •   whether Defendant’ violations of BIPA were committed recklessly or negligently.

        156.    Predominance. The common questions of law and fact predominate over any

individual issue that may arise on behalf of an individual Class member.


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        157.     Typicality. Plaintiffs, the members of the Class, and Defendant haye a

commonality of interest in the subject matter of the lawsuit and the remedy sought.

        158.     Adequacy. Plaintiffs and counsel will fairly and adequately protect the interests

of Class members. Plaintiffs’ counsel, Schlichter Bogard & Denton, LLP, will fairly and

adequately represent the interests of the Class. Schlichter Bogard & Denton, LLP has a well-

documented track record of serving as class counsel in this State and elsewhere. Schlichter

Bogard & Denton’s pioneering work in class actions brought on behalf of citizens of this State

and others has been covered by numerous national publications, including the New York Times

and Wall Street Journal, among other media outlets. By way of limited example, courts in this

State have noted in reference to the work of Schlichter Bogard & Denton, LLP in class action

litigation:

        •     “This Court is unaware of any comparable achievement of public good by a private
              lawyer in the face of such obstacles and enormous demand of resources and finance.”
              Order on Attorney’s Fees, Mister v. Illinois Central GulfR.R., No. 81-3006 (S.D. III.
              1993).

        •     “This Court finds that Mr. [Jerome J.] Schlichter’s experience, reputation and ability
              are of the highest caliber. Mr. Schlichter is known well to the District Court Judge
              and this Court agrees with Judge Foreman’s review of Mr. Schlichter’s experience,
              reputation and ability.” Order on Attorney’s Fees, Wilfong v. Rent-A-Center, No.
              0068-DRH (S.D. Ill. 2002). ’

        •     “Class Counsel performed substantial work ... investigating the facts, examining
              documents, and consulting and paying experts to determine whether it was viable.
              This case has been pending since September 11, 2006. Litigating the case required
              Class Counsel to be of the highest caliber and committed to the interests of the
              [class].” Will V. General Dynamics, No. 06-698, 2010 WL 4818174, at *2 (S.D. III.
              Nov. 22, 2010).

        •      “Schlichter, Bogard & Denton has achieved unparalleled results on behalf of its
              clients,... has invested ... massive resources and persevered in the face of ...
              enormous risks[.]” Nolte v. Cigna Corp., No. 07-2046, 2013 WL 12242015, at *2
              (C.D. Ill. Oct. 15,2013).

        •     “Litigating this case against formidable defendants and their sophisticated attorneys
              required Class Counsel to demonstrate extraordinary skill and determination.”

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            Beesley v. Int’lPaper Co., No. 06-703, 2014 WL 375432, at *2 (S.D. Ill. Jan. 31,
            2014).

       •    “Schlichter, Bogard & Denton demonstrated extraordinary skill and determination in
            obtaining this result for the Class.” Abbott v. Lockheed Martin Corp., No. 06-701,
            2015 WL 4398475, at *2 (S.D. 111. July 17, 2015).

Plaintiffs’ counsel Christian Montroy is also an experienced class action practitioner who will

adequately represent the Class.

       159.    Superiority. A class action is the appropriate vehicle for fair and efficient

adjudication of Plaintiffs’ and Class members’ claims because if individual actions were required

to be brought by each member of the Class, the result would be a multiplicity of actions, creating

a hardship to the Class, to the Court, and to Defendant.

                       COUNT 1 - VIOLATION OF 740 ILCS 14/15(bl

        160.   Plaintiffs incorporate paragraphs 1 through 159 as though fully realleged herein.

        161.    BIPA created statutory duties for Defendant with respect to the collection of

biometric identifiers and biometric information of Plaintiffs and the Class. See 740 ILCS

14/I5(b).

        162.    Defendant violated BIPA section 15(b)( 1) by collecting Plaintiffs’ and Class

members’ biometric identifiers and biometric information, including scans of facial geometry

and related biometric information, without first informing Plaintiffs and Class members that

Defendant was collecting this information.

        163.    Defendant violated BIPA section 15(b)(2) by collecting Plaintiffs’ and Class

members’ biometric identifiers and biometric information, including scans of facial geometry

and related biometric information, without informing Plaintiffs and Class members in writing of

the purpose for the collection. Further, Defendant violated BIPA section 15(b)(2) by failing to

inform Plaintiffs and Class members in writing of the length of time Defendant would collect


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Plaintiffs’ and Class members’ biometric identifiers and biometric information, including scans

of facial geometry and related biometric information.

        164.   Defendant violated BIPA section 15(b)(3) by collecting Plaintiffs’ and Class

members’ biometric identifiers and biometric information, including scans of facial geometry

and related biometric information, without first obtaining informed written consent authorizing

Defendant to collect Plaintiffs’ and Class members’ biometric identifiers and/or biometric

information.

        165.   Defendant’s BIPA violations are violations of Defendant’s duty of ordinary care

owed to Plaintiffs and the Class.

        166.   In the alternative, Defendant’s BIPA violations were willful and wanton.

Defendant knowingly, intentionally, and/or recklessly violated the duty it owed to Plaintiffs and

the Class.

        167.   Plaintiffs incurred injuries that were proximately caused by Defendant’s conduct.

Through its actions, Defendant exposed Plaintiffs and the Class to imminent threats of serious

harm.

        168.   Plaintiffs in this Count I hereby request the relief set forth in the Prayer for Relief

below, and incorporated as though fully set forth herein.

                       COUNT II - VIOLATION OF 740 ILCS 14/15(a)

        169.   Plaintiffs incorporate paragraphs 1 through 168 as though fully realleged herein.

        170.   BIPA created statutory duties for Defendant with respect to the possession of the

biometric identifiers and biometric information of Plaintiffs and the Class. See 740 ILCS

14/I5(a).




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        171.   Defendant violated BIPA section 15(a) by possessing Plaintiffs’ and Class

members’ biometric identifiers and biometric information, including scans of face geometry and

related biometric information, without creating and following a written policy, made available to

the public, establishing and following a retention schedule and destruction guidelines for

Defendant’s possession of biometric identifiers and information.

        172.   Defendant’s BIPA violations are violations of Defendant’s duty of ordinary care

owed to Plaintiffs and the Class.

        173.   In the alternative, Defendant’s BIPA violations were willful and wanton.

Defendant knowingly, intentionally and/or recklessly violated the duty it owed to Plaintiffs and

the Class.

        174.   Plaintiffs incurred injuries that were proximately caused by Defendant’s conduct.

Through its actions. Defendant exposed Plaintiffs and the Class to imminent threats of serious

harm.

        175.   Plaintiffs in this Count II hereby request the relief set forth in the Prayer for Relief

below, and incorporated as though fully set forth herein.

                      COUNT III - VIOLATION OF 740 ILCS 14/15(c)

        176.   Plaintiffs incorporate paragraphs 1 through 175 as though fully realleged herein.

        177.   Under BIPA, Defendant owed a duty to Plaintiffs and the Class not to profit from

their Biometric Data. See 740 ILCS 14/15(c).

        178.   Defendant is subject to BIPA section 15(c) because it is a “private entity in

possession of a biometric identifier or biometric information.”




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        179.   Defendant possesses the Biometric Data stored locally on the electronic devices

of Plaintiffs and the Class because, as alleged herein, Defendant exclusively controls that

Biometric Data.

        180.   In addition, on information and belief, Defendant possesses, among other

Biometric Data, scans of facial geometry that are stored on devices owned by Defendant. This

includes, but is not limited to, scans of facial geometry that are present on devices owned by

Defendant, including those used by employees of Defendant.

        181.   Defendant violated BIPA section 15(c) by profiting from Plaintiffs’ and Class

members’ biometric identifiers and biometric information, including scans of facial geometry

and related biometric information, by, among other things, marketing and selling its devices

based upon claims of their ability to sort photographs, as alleged in more detail herein.

        182.   Defendant’s BIPA violations are violations of Defendant’s duty of ordinary care

owed to Plaintiffs and the Class.

        183:   In the alternative. Defendant’s BIPA violations were willful and wanton.

Defendant knowingly, intentionally and/or recklessly violated the duty it owed to Plaintiffs and

the Class.

        184.   Plaintiffs incurred injuries that were proximately caused by Defendant’s conduct.

Through its actions. Defendant exposed Plaintiffs and the Class to imminent threats of serious

harm.

        185.   Plaintiffs in this Count III hereby request the relief set forth in the Prayer for

Relief below, and incorporated as though fully set forth herein.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Class, pray for

judgment against Defendant Apple Inc. as follows:

       A.     Certifying this case as a class action, appointing Plaintiffs as Class

              representatives, and appointing Plaintiffs’ counsel as Class counsel;

       B.     Finding that Defendant’s conduct violates BIPA;

       C.     Awarding actual damages caused by Defendant’s BIPA violations;

       D.     Awarding statutory damages of $5,000 for each intentional and reckless violation

              of BIPA pursuant to 740 ILCS 14/20(2), and damages of $1,000 for each

              negligent violation pursuant to 740 ILCS 14/20(1);

       E.     Awarding injunctive and/or other equitable or non-monetary relief as appropriate

              to protect the Class, including by enjoining Defendant from further violating

               BIPA pursuant to 740 ILCS 14/20(4);

       F.     Awarding Plaintiffs reasonable attorneys’ fees, costs, and other litigation

               expenses pursuant to 740 ILCS 14/20(3);

       G.      Awarding Plaintiffs and the Class pre- and post-judgment interest, to the extent

               allowable; and

       H.      Awarding such other and further relief as this Court deems appropriate and as

               equity and justice may require.

                                         JURY DEMAND

       Plaintiffs request trial by jury of all claims asserted herein.




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Dated: March 4, 2020                      Respectfully submitted,

                                          /s/ Jerome J. Schlichter_____________
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